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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3169
                                     )
           v.                        )
                                     )
ANA C. CALIX,                        )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     The joint oral motion of the parties is granted and the
initial appearance is continued from December 20, 2007 to
January 4, 2008 at 1:00 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     Defendant shall be present for the hearing.

     DATED this 18th day of December, 2007.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
